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 Edward Mac Mahon

 From:        "Edward Mac Mahon" <ebmjr@crosslink.net>
 To:          <Gordon.Kromberg@usdoj.gov>
 Sent:        Friday, March 25, 2005 9:47 AM
 Subject:     How about this

The case in which you may serve as a juror is entitled United States v. Ali Al-Timimi. This case
involves to a significant degree certain events that followed in the immediate aftermath of the terrorist
attacks on 9/11 and the preparations for the war in Afghanistan that followed those attacks. The
government alleges that, just days after 9/11, when it became apparent that the United States might to go
to war against the Taliban (the rulers of most of Afghanistan), because the Taliban was providing shelter
to Usama bin Laden and his organization, Al-Qaeda, defendant Ali Al-Timimi solicited young Muslim
men in Northern Virginia to go to Afghanistan to fight for the Taliban against the United States, and
counseled and induced others to try to help the Taliban or other Islamic fighters (known as mujahidecn)
by fighting for them in violent jihads, or violent struggles to further the Islamic religion. Ali Al-Timimi
denies the charges, and contends that he only counseled the young men to leave the United States (or, in
Arabic terms, make "hijrah") and migrate to an Islamic country where they could practice their religion
without persecution.. Ali AlrTimimi.also contends that he was exercising rights guaranteed to him by
the First Amendment to the United States Constitution.


  Of course my changes are underlined -1 will be at the courthouse this afternoon for the great switch - i have
assembled the majority of the documents that you may not have already and even some that you returned. I
have approximately 400 tapes of public lectures as well to provide and should have them tomorrow - you have all
of them already I believe and we can discuss a stipulation regarding them - finally, I need Hasan's phone records
so I can fill in all the blanks for the summary exhibit i am preparing - Ihen I promise to stop asking for anything
other than a nolle prosse.
Ed




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